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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA


DONALD J. TRUMP FOR
PRESIDENT, INC.; et al.,
                                                    Civil Action No.: 2:20-CV-966-NR
                Plaintiffs,

       v.

KATHY BOOCKVAR; et al.,

                Defendants.



                       MOTION FOR ADMISSION PRO HAC VICE OF
                                 SOPHIA L. LAKIN

       Proposed Intervenors the National Association for the Advancement of Colored People

(“NAACP”) Pennsylvania State Conference, Common Cause Pennsylvania, League of Women

Voters of Pennsylvania, Patricia DeMarco, Danielle Graham Robinson, and Kathleen Wise

(collectively, “Applicants”) respectfully move for the admission pro hac vice of Sophia L. Lakin

pursuant to Local Civil Rules 83.2 and 83.3, should this court grant their Motion to Intervene

(ECF No. 103).

       Attached hereto is an Affidavit for movant Sophia L. Lakin, in support of this motion, as

well as a certificate of good standing from the New York State Bar.


 Dated: July 22, 2020                                 /s/ Sophia L. Lakin
                                                      Sophia L. Lakin
                                                      American Civil Liberties Union Foundation
                                                      125 Broad Street, 18th Floor
                                                      New York, NY 10004
                                                      Tel.: (212) 519-7836
                                                      slakin@aclu.org
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                                CERTIFICATE OF SERVICE


       I certify that a true and correct copy of the foregoing Motion for Admission Pro Hac Vice

was served on all counsel of record by means of the Court’s electronic filing system.



                                                     /s/ Sophia L. Lakin
                                                    Sophia L. Lakin
 Dated: July 22, 2020
